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 Information to identify the case:
 Debtor 1              Dana Micallef                                                            Social Security number or ITIN           xxx−xx−8614
                       First Name   Middle Name     Last Name                                   EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                       Social Security number or ITIN _ _ _ _
                       First Name   Middle Name     Last Name
 (Spouse, if filing)
                                                                                                EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Middle District of Florida
                                                                                                Date case filed for chapter 11 10/10/18
 Case number:          6:18−bk−06259−KSJ

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                               About Debtor 1:                                              About Debtor 2:
 1. Debtor's full name                         Dana Micallef

 2. All other names used in the
    last 8 years

 3. Address                                    1888 John Anderson Drive
                                               Ormond Beach, FL 32176

                                                Thomas C Adam                                            Contact phone (904) 329−7249
                                                Adam Law Group, P.A.
 4. Debtor's attorney                           301 W. Bay Street, Suite 1430                            Email: tadam@adamlawgroup.com
      Name and address
                                                Jacksonville, FL 32202

 5. Bankruptcy Clerk's Office                                                                                Hours open:
      Documents in this case may be filed       George C. Young Federal Courthouse                           Monday − Friday 8:30 AM − 4:00PM
      at this address.                          400 West Washington Street
      You may inspect all records filed in      Suite 5100                                                   Contact phone 407−237−8000
      this case at this office or online at     Orlando, FL 32801
      www.pacer.gov.                                                                                         Date: October 11, 2018

 6. Meeting of creditors                        November 19, 2018 at 10:00 AM
      Debtors must attend the meeting to
      be questioned under oath. In a joint                                                                   Location:
                                                The meeting may be continued or adjourned to a
      case, both spouses must attend.           later date. If so, the date will be on the court             George C. Young Courthouse,
      Creditors may attend, but are not                                                                      Suite 1203−B, 400 West
      required to do so. You are reminded       docket.                                                      Washington Street, Orlando, FL
      that Local Rule 5073−1 restricts the                                                                   32801
      entry of personal electronic devices         *** Debtor(s) must present Photo ID and acceptable
      into the Courthouse.                        proof of Social Security Number at § 341 meeting. ***

                                                                                                           For more information, see page 2 >
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Debtor Dana Micallef                                                                                                  Case number 6:18−bk−06259−KSJ

 7. Deadlines                        File by the deadline to object to discharge or to challenge                           First date set for hearing on
     The bankruptcy clerk's office   whether certain debts are dischargeable:                                              confirmation of plan. The court will
     must receive these                                                                                                    send you a notice of that date later.
     documents and any required
     filing fee by the following     You must file a complaint:                                                            Filing deadline for
     deadlines.                                                                                                            dischargeability complaints:
                                             •   if you assert that the debtor is not entitled to receive a discharge of
                                                 any debts under 11 U.S.C. § 1141(d)(3) or                                 January 18, 2019
                                             •   if you want to have a debt excepted from discharge under 11
                                                 U.S.C. § 523(a)(2), (4), or (6).


                                     Deadline for filing proof of claim:                                                   February 4, 2019

                                                                                                                           For a governmental unit:
                                                                                                                           180 days from the date of
                                                                                                                           filing
                                     A proof of claim is a signed statement describing a creditor's claim. A proof of
                                     claim form may be filed online at the Court's website
                                     at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any
                                     bankruptcy clerk's office.
                                      Your claim will be allowed in the amount scheduled unless:

                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.
                                      You may review the schedules at the bankruptcy clerk's office or online at
                                     www.pacer.gov.
                                      Secured creditors retain rights in their collateral regardless of whether they
                                     file a proof of claim. Filing a proof of claim submits a creditor to the
                                     jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                     For example, a secured creditor who files a proof of claim may surrender
                                     important nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                     Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe            30 days after the conclusion of the
                                     that the law does not authorize an exemption claimed, you may file an                 meeting of creditors
                                     objection.

                                              If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                              is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                              business.

                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                             See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                             all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                             from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                      should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                             and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                             entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                             the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                             send you another notice telling you of that date.

                                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                         as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                             bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.


 12. Voice Case Info. System                 McVCIS provides basic case information concerning deadlines such as case opening and closing date, discharge date
                                             and whether a case has assets or not. McVCIS is accessible 24 hours a day except when routine maintenance is
     (McVCIS)                                performed. To access McVCIS toll free call 1−866−222−8029.

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